Case 4:21-mj-000@R

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FOR THE NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION
UNITED STATES OF AMERICA pete te aun weeps espe g mma
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LARRY RENDALL BROCK (01) | po oe

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GOVERNMENT’S MOTION FOR PRETRIAL DETENTION

JAN 14 2021

The United States moves for pretrial detention of the defendant pursuant to 18 U.S.C. §§ 3 1424e) and OF

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Crime of violence [18 U.S.C. § 3156]

Maximum sentence of LIFE imprisonment or death
Controlled Substance offense punishable by 10 or more years
Felony with 2 prior convictions in above categories

Felony involving a minor victim

Felony involving the possession or use of a firearm, destructive device, or other dangerous weapon
Felony involving a failure to register under 18 U.S.C. § 2250

Serious risk that the Defendant will flee

Serious risk that Defendant will obstruct justice

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1. Eligibility of Case: This case is eligible for a detention order because the case inyolvés!-T. RK ‘US. DISTRICT COURT
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2. Reason for Detention. The Court should detain the Defendant because there are no conditions of release which

would reasonably assure:

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Defendant's appearance as required
The safety of the community
The safety of another person

3. The United States will not invoke the rebuttable presumption against the Defendant because: there is probable cause

to believe that the Defendant has committed:

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A Controlled Substance Offense punishable by 10 or more years imprisonment

A firearms offense under Title 18, United States Code, Section 924(c)

A federal crime of terrorism punishable by 10 or more years imprisonment

A Felony -listed in 18 U.S.C. § 3142(e) - involving a minor victim

A Felony involving a failure to register under 18 U.S.C. § 2250

The Defendant has previously been convicted of an offense described in 18 USC 3142(f)(1) which was committed
while the Defendant was released on bond pending trial for any offense and less than 5 years have elapsed since the
latter of the defendant’s conviction or date of release from imprisonment for such conviction.

4. Time for Detention Hearing. The United States requests the Court to conduct the detention hearing
at the Defendant's first appearance {J Afteya continuance of _3_ days.

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DATE: January 11, 2021 lor 4

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